                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                               COOKEVILLE DIVISION


SARAH BETH CAIN,                                 )
                                                 )
        Plaintiff,                               )
                                                 )
v.                                               )   NO. 2:17-cv-00055
                                                 )
TENNESSEE TECHNOLOGICAL                          )
UNIVERSITY, et al.,                              )
                                                 )
        Defendants.                              )


                                            ORDER

       As set forth in the accompanying Memorandum Opinion, Plaintiff’s Objections (Doc. No.

52) are OVERRULED. The Report and Recommendation (Doc. No. 49) is ADOPTED IN PART

AND SET ASIDE IN PART. Defendants’ Motion to Dismiss (Doc. No. 24) is GRANTED IN

PART. Cain’s federal claims are DISMISSED WITH PREJUDICE. The Court declines to

exercise supplemental jurisdiction over Cain’s state law claims and they are DISMISSED

WITHOUT PREJUDICE.

       The Clerk shall enter a final judgment.

       IT IS SO ORDERED.




                                            ____________________________________
                                            WAVERLY D. CRENSHAW, JR.
                                            CHIEF UNITED STATES DISTRICT JUDGE




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